                 Case 2:02-cr-00048-MCE Document 139 Filed 12/30/05 Page 1 of 2


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 4
   Attorney for defendant,
 5 JAIME RIOS VIZCARRA
 6
 7                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8                                  EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,           )                    No. 2:02-cr-0048 MCE
10                                       )
                 Plaintiff,              )                    STIPULATION AND ORDER
11                                       )                    CONTINUING HEARING
                                         )                    CONCERNING BOOKER1
12         v.                            )                    REMAND
                                         )
13                                       )
     ROBERTO RIOS VIZCARRA and           )                    Date: December 13, 2005
14   JAIME RIOS VIZCARRA,                )                    Time: 8:30 a.m.
                                         )
15               Defendant.              )
     ____________________________________)
16
     The parties hereby stipulate to the following:
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        1.         This matter is presently set for the court to consider its sentence in light of Booker
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                   after remand by the Ninth Circuit on December 13, 2005 at 8:30 a.m.
19
        2.         In order to afford defense counsel additional time to prepare for the hearing, and to
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                   afford the court and the government time to review the memorandum filed on behalf
21
                   of Mr. Jaime Vizcarra, the parties hereby stipulate that the hearing on December 13 be
22
                   vacated, and that this matter be set for hearing on January 10, 2006 at 8:30 a.m.
23
24      DATED: December 12, 2005              /s/ Tim Warriner
                                              Attorney for defendant,
25                                            JAIME RIOS VIZCARRA
26
             1
27               United States v. Booker, __ U.S. __, 125 S.Ct. 738 (2005)

28                                                       1
             Case 2:02-cr-00048-MCE Document 139 Filed 12/30/05 Page 2 of 2


 1      DATED: December 12, 2005          /s/ Victor Haltom,
                                          Attorney for defendant
 2                                        ROBERTO RIOS VIZCARRA
 3      DATED: December 12, 2005          /s/ Mary Grad
                                          Assistant United States Attorney
 4
 5
 6
                                                   ORDER
 7
            GOOD CAUSE APPEARING, it is hereby ordered that the hearing now scheduled for
 8
     December 13, 2005 be vacated, and that this matter be set for hearing on January 10, 2006 at
 9
     8:30 a.m.
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11
     DATED: December 29, 2005
12
13
14                                                ___________________________________
15                                                MORRISON C. ENGLAND, JR
                                                  UNITED STATES DISTRICT JUDGE
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